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  1 [Attorneys on Next Page]
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  8                              UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10                                        WESTERN DIVISION
 11
 12 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
    and LIVEWIRE SERVICES, INC., a
 13 Nevada corporation,
                                          DECLARATION OF TODD
 14                 Plaintiffs,           GREGORIAN IN SUPPORT OF
                                          PLAINTIFFS GIGANEWS AND
 15       v.                              LIVEWIRE’S OPPOSITION TO
                                          DEFENDANTS’ MOTION FOR
 16 PERFECT 10, INC., a California        SUMMARY JUDGMENT OR, IN
    corporation; NORMAN ZADA, an          THE ALTERNATIVE, PARTIAL
 17 individual; and DOES 1-50, inclusive, SUMMARY JUDGMENT
 18                      Defendants.                 [REDACTED PUBLIC VERSION]
 19
                                                     Discovery Cut-off: Sept. 10, 2018
 20                                                  Trial Date:        January 15, 2019
 21
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      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          I, Todd R. Gregorian, hereby declare pursuant to 28 U.S.C. § 1746 as
  2 follows:
  3          1.      I am an associate at Fenwick & West, LLP, counsel for Plaintiffs
  4 Giganews, Inc. and Livewire Services, Inc. I submit this declaration in support of
  5 Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment or, in the
  6 Alternative, Partial Summary Judgment. I have personal knowledge of the facts in
  7 this declaration.
  8          2.      EXHIBIT 1 to this declaration is a collection of excerpts from the
  9 transcript of the deposition of Defendant Norman Zada on April 24, 2014 in Perfect
 10 10, Inc. v. Giganews, Inc., C.D. Cal. No CV 11-7098 (“Related Case”).
 11          a)      10:19–20:12:
 12
 13
 14
 15          b)      39:18-40:11:
 16                                                      .
 17          c)      159:7-160:12:
 18
 19
 20
 21
 22          d)      161:4-162:5:
 23
 24
 25          e)      165:10-11:
 26
 27          f)      165:12-166:1:
 28
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  1          g)      166:4-17:
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  3          h)      163:14-19:
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  7          i)      139:5-142:1:
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  9
 10
 11          3.      EXHIBIT 2 to this declaration is a collection of excerpts from the
 12 transcript of the deposition of Defendant Norman Zada on April 25, 2014 in the
 13 Related Case.
 14          a)      320:9-11:
 15
 16          b)      518:11-15:
 17
 18          c)      530:22-531:1:
 19
 20          d)      540:20-541:5:
 21
 22                                                                                       .
 23          e)      547:12-17:
 24
 25          f)      536:19-21:
 26
 27                                                              I attach Exhibit 1059 to
 28                  his April 25 deposition as EXHIBIT 3 to this declaration.
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          g)      536:11-13:
  2
  3                                                                  I attach Exhibit 1058 to
  4                  his April 25 deposition as EXHIBIT 4 to this declaration.
  5          h)      536:3-5:
  6
  7                                                        I attach Exhibit 1057 to his April 25
  8                  deposition as EXHIBIT 5 to this declaration.
  9          i)      535:20-22:
 10
 11                                                                  I attach Exhibit 1056 to
 12                  his April 25 deposition as EXHIBIT 6 to this declaration.
 13          j)      535:12-14:
 14
 15                                                                  I attach Exhibit 1055 to
 16                  his April 25 deposition as EXHIBIT 7 to this declaration.
 17          k)      534:21-23:
 18
 19                                                                    I attach Exhibit 1053 to
 20                  his April 25 deposition as EXHIBIT 8 to this declaration.
 21          l)      534:12-15:
 22
 23                                                  I attach Exhibit 1052 to his April 25
 24                  deposition as EXHIBIT 9 to this declaration.
 25          m)      533:25-534:4:
 26
 27                                                                    I attach Exhibit 1049 to
 28                  his April 25 deposition as EXHIBIT 10 to this declaration.
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  5          6.      EXHIBIT 14 to this declaration is a collection of excerpts from the
  6 Judgment Debtor Examination transcript of Defendant Norman Zada on January 28,
  7 2016 in the Related Case.
  8          a)      55:18-59:16: Zada admitted that, as of the debtor examination, Perfect
  9                  10 had an ongoing lawsuit against AOL Germany that Zada had been
 10                  funding. He did not “know if Perfect 10 sent that money or if I sent it
 11                  or if I first gave it to Perfect 10, and then they sent.”
 12          b)      74:23-25: Zada admitted that, in 2014, Perfect 10 did not create any
 13                  new copyrighted images of its own.
 14          c)      87:22-93:11: Zada admitted that, in March 2015, he purchased back
 15                  issues from Perfect 10 and was thereafter “basically providing the
 16                  magazines to Perfect 10” for Perfect 10 to sell them. He also
 17                  purchased Perfect 10’s remaining physical assets at that time. The
 18                  only records documenting these purchases are Perfect 10’s corporate
 19                  minutes, and the records of the wire transfers in the Bank of America
 20                  account.
 21          d)      109:15-110:4: The physical assets that Zada purchased in March 2015
 22                  include servers and external drives on which Perfect 10 had stored
 23                  alleged infringements that it found on the Internet.
 24          e)      110:5-111:4: Zada testified that business rationale for transferring
 25                  physical assets from Perfect 10 to himself was to prevent those assets
 26                  from seizure, as “[i]t would have been totally disruptive to have those
 27                  seized.”
 28
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  1          f)      127:14-129:14: Zada testified that he did not recall having any written
  2                  employment contract with Perfect 10. Perfect 10 owned the house that
  3                  Zada previously lived in on Beverly Park; when it sold the house in or
  4                  around 2010, Perfect 10 paid the net proceeds to Zada.
  5          g)      150:8-151:12: Zada admitted that, on November 20, 2014, Perfect 10
  6                  made a money transfer of $850,000 to Zada’s personal bank account,
  7                  because “after the summary judgment orders were issued, I did not see
  8                  any point in keeping more cash than we needed in the account.”
  9          h)      24:5-13: Mr. Zada identified Exhibit 3 to his January 28 examination,
 10                  bearing Bates Nos. P-FIN009682-9715, as Perfect 10’s 2014
 11                  Financials. I attach Exhibit 3 to his January 28 examination as
 12                  EXHIBIT 15 to this declaration.
 13          i)      150:8-14: Mr. Zada identified Exhibit 4 to his January 28 examination,
 14                  bearing Bates Nos. P-FIN009597-9602 and dated November 2014, as a
 15                  Bank of America statement from Perfect 10’s records. It is attached
 16                  here as EXHIBIT 16. A more comprehensive exhibit of Perfect 10’s
 17                  bank statements from November 2014 to November 2015 for the
 18                  account ending in 4952, which Perfect 10 produced bearing Bates Nos
 19                  P-FIN009555-9676, appears as I attach Exhibit 4 to his January 28
 20                  examination as EXHIBIT 71 to this declaration.
 21          j)      155:21-156:1: Mr. Zada identified Exhibit 6 to his January 28
 22                  examination, bearing Bates Nos. P-FIN009623-9628 and dated March
 23                  2015, as a Bank of America statement from Perfect 10’s records. It is
 24                  attached here as EXHIBIT 17. I have attached a more comprehensive
 25                  exhibit of Perfect 10’s bank statements from November 2014 to
 26                  November 2015 for the account ending in 4952, which Perfect 10
 27                  produced bearing Bates Nos P-FIN009555-9676, as EXHIBIT 71 to
 28                  this declaration.
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
      FOR SUMMARY JUDGMENT                           6           CASE NO.: 2:17-cv-05075-AB (JPR)
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  1          k)      156:23-157:1: Mr. Zada identified Exhibit 7 to his January 28
  2                  examination, bearing Bates Nos. P-FIN009633- 964 and dated May
  3                  2015, as a Bank of America statement from Perfect 10’s records. It is
  4                  attached here as EXHIBIT 18. I have attached a more comprehensive
  5                  exhibit of Perfect 10’s bank statements from November 2014 to
  6                  November 2015 for the account ending in 4952, which P10 produced
  7                  bearing Bates Nos P-FIN009555-9676, as EXHIBIT 71 to this
  8                  declaration.
  9          l)      158:18-21: Mr. Zada identified Exhibit 8 to his January 28
 10                  examination, bearing Bates Nos. P-FIN009659- 9664 and dated
 11                  September 2015, as a Bank of America statement from Perfect 10’s
 12                  records. It is attached here as EXHIBIT 19. I have attached a more
 13                  comprehensive exhibit of Perfect 10’s bank statements from
 14                  November 2014 to November 2015 for the account ending in 4952,
 15                  which P10 produced bearing Bates Nos P-FIN009555-9676, as
 16                  EXHIBIT 71 to this declaration.
 17          m)      173:12-16: Mr. Zada identified Exhibit 14 to his January 28
 18                  examination, bearing Bates Nos. P-FIN009852–9864, as a tax return
 19                  papers for Perfect 10 for tax year 2014. I attach Exhibit 14 to his
 20                  January 28 examination as EXHIBIT 20 to this declaration.
 21          n)      113:7-14: Zada admitted that he withdrew money that Perfect 10
 22                  obtained in settlements “as payment” for his investments in the
 23                  business.
 24          o)      156:2-157:23: Zada testified that he made a money transfer from
 25                  himself to Perfect 10 on March 26, 2015 in the amount of $454,002.05
 26                  because his attorney, “Eric Benink was concerned that” the pending
 27                  sanctions motion against Perfect 10, it affiliates, and counsel “would
 28                  have caused damage to his business.” Zada continued that Benink
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  1                  asked him “to wire to him something like $800,000”; Zada transferred
  2                  $454,002.05 to Perfect 10 for Benink, and sent him the other $300,000
  3                  or so personally.
  4          7.      EXHIBIT 21 to this declaration is a collection of excerpts from the
  5 transcript of the deposition of Defendant Norman Zada on July 11, 2018 in this
  6 case.
  7          a)      49:24-50:15:
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 11
 12
 13          b)      54:20-57:3:
 14
 15
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 17          c)      65:3-66:2:
 18
 19
 20
 21          d)      66:13-71:8:
 22
 23          e)      84:22-85:7:
 24
 25                                                                                   I attach
 26                  Exhibit 5 to his July 11, 2018 deposition as EXHIBIT 22 to this
 27                  declaration.
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          f)      106:5-108:12:
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  9          g)      115:12-116:8:
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 14                                                  I attach Exhibit 6 to his July 11, 2018
 15                  deposition as EXHIBIT 23 to this declaration.
 16          h)      137:20-138:4:
 17
 18          i)      138:5-24:
 19
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 24          j)      141:6-9:
 25
 26
 27          k)      143:6-146:5:
 28
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 10          l)      156:1-157:19, 159:4-10:
 11
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 13                                                   I attach Exhibit 7 to his July 11, 2018
 14                  deposition as EXHIBIT 24 to this declaration.
 15
 16
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 20          m)      162:23-164:8:
 21
 22                                                        I attach Exhibit 8 to his July 11,
 23                  2018 deposition as EXHIBIT 25 to this declaration.
 24
 25
 26          n)      174:14-20:
 27
 28
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  1                                                                       I attach Exhibit 9
  2                  to his July 11, 2018 deposition as EXHIBIT 26 to this declaration.
  3          o)      176:7-14:
  4
  5          p)      181:19-182:15:
  6
  7
  8          q)      190:17-191:6:
  9
 10          r)      195:10-18:
 11
 12
 13
 14
 15
 16          s)      195:25-198:12:
 17
 18          t)      208:13-209:5:
 19
 20
 21          u)      253:7-11:
 22
 23
 24          v)      31:5-19:
 25
 26
 27          w)      168:22-169:9:
 28
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  3          x)      191:7-16:
  4
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  6          8.      EXHIBIT 27 to this declaration is a collection of excerpts from the
  7 transcript of the deposition of Defendant Norman Zada on October 31, 2018 in this
  8 case.
  9          a)      125:12-21:
 10
 11                                                                                           I
 12                  have attached as EXHIBIT 28 a true and correct copy of the Minutes
 13                  of the Special Meeting of the Board of Directors of Perfect 10, Inc.,
 14                  dated March 24, 2015, March 26, 2015 and April 1, 2015.
 15          b)      12:4-40:23:
 16
 17
 18
 19
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 22
 23
 24                  Exhibit 41 is EXHIBIT 29 to this declaration.
 25          c)      45:22-47:9:
 26
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      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  3          d)      49:8-50:9:
  4
  5                                       I attach Exhibit 42 to his October 31, 2018 deposition
  6                  as EXHIBIT 30 to this declaration. It shows that Zada paid no taxes
  7                  for that year.
  8          e)      70:10-87:2:
  9
 10
 11
 12
 13
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 15          f)      87:10-90:9:
 16
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 20          g)      90:20-93:10:
 21
 22
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 27          h)      97:25-101:23:
 28
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  1          n)      112:15-113:23:
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  6
  7          o)      113:24-116:21:
  8
  9          p)      120:13-121:9:
 10
 11          q)      125:24-127:20:
 12
 13
 14
 15
 16
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 18
 19
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 21          r)      152:23-156:9:
 22
 23
 24
 25
 26
             s)      42:11-45:21:
 27
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          t)      105:25-111:18:
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  4          u)      141:19-143:20:
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             9.      EXHIBIT 35 to this declaration is a collection of excerpts from the
  9
      deposition transcript of Melanie Poblete, former Perfect 10 paralegal and present
 10
      bookkeeper, close assistant, and rent-free housemate to Defendant Zada, on
 11
      December 6, 2016 in the Related Case.
 12
             a)      29:20-31:10:
 13
 14
 15
 16
 17
 18
             b)      110:20-111:10:
 19
 20
 21
 22
                                                          I attach Exhibit 4 to her December
 23
                     6, 2016 deposition as EXHIBIT 36 to this declaration.
 24
             c)      112:12-112:23:
 25
                                                                                               I
 26
                     attach Exhibit 5 to her December 6, 2016 deposition as EXHIBIT 37
 27
                     to this declaration.
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          d)      121:21-122:13:
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  5          e)      136:3-21:
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  9                                                                    I attach Exhibit 12 to
 10                  her December 6, 2016 deposition as EXHIBIT 38 to this declaration.
 11          f)      50:1-7:
 12
 13
 14          10.     EXHIBIT 39 to this declaration is an excerpt from the transcript of the
 15 deposition of Melanie Poblete on July 17, 2018 in this case.
 16          a)      111:5–113:17:
 17
 18
 19
 20
 21          b)      138:12-142:2:
 22
 23
 24          11.     EXHIBIT 40 to this declaration is a collection of excerpts from the
 25 transcript of the deposition of Bruce Hersh, accountant for Perfect 10 and
 26 Defendant Zada, on July 18, 2018 in this case.
 27
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          a)      65:19-66:12:
  2
  3
  4          b)      74:16-75:17:
  5
  6
  7
  8          c)      78:19-80:10:
  9
 10
 11          d)      94:13-95:2:
 12
 13
 14          e)      109:4–119:3:
 15
 16
 17          f)      119:11-17:
 18
 19
 20                               I attach Exhibit 32 to his July 18, 2018 deposition as
 21                  EXHIBIT 41 to this declaration.
 22          g)      138:3-8:
 23
 24
 25                               I attach Exhibit 35 to his July 18, 2018 deposition as
 26                  EXHIBIT 42 to this declaration.
 27
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          12.     EXHIBIT 43 to this declaration is Defendant Dr. Norman Zada’s
  2 Third Amended Response to Plaintiff Giganews’s Second Set of Interrogatories,
  3 dated September 24, 2018.
  4          13.     EXHIBIT 44 to this declaration is Defendant Perfect 10’s Third
  5 Amended Response to Plaintiff Giganews’s Second Set of Interrogatories, dated
  6 September 24, 2018.
  7          14.     EXHIBIT 45 to this declaration is Perfect 10 1996 Form 1120-S,
  8 which was produced by Defendants in the Related Case bearing Bates Nos. P-
  9 FIN003244–3252.
 10          15.     EXHIBIT 46 to this declaration is Perfect 10 1997 Form 1120-S,
 11 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 12 FIN003266–3276.
 13          16.     EXHIBIT 47 to this declaration is Perfect 10 1998 Form 1120-S,
 14 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 15 FIN003295–3306.
 16          17.     EXHIBIT 48 to this declaration is Perfect 10 1999 Form 1120-S,
 17 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 18 FIN003324–3335.
 19          18.     EXHIBIT 49 to this declaration is Perfect 10 2000 Form 1120-S,
 20 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 21 FIN003352–3363.
 22          19.     EXHIBIT 50 to this declaration is Perfect 10 2001 Form 1120-S,
 23 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 24 FIN003381–3394.
 25          20.     EXHIBIT 51 to this declaration is Perfect 10 2002 Form 1120-S,
 26 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 27 FIN003415–3431.
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          21.     EXHIBIT 52 to this declaration is Perfect 10 2003 Form 1120-S,
  2 which was produced by Defendants in the Related Case bearing Bates Nos. P-
  3 FIN003452–3466.
  4          22.     EXHIBIT 53 to this declaration is Perfect 10 2004 Form 1120-S,
  5 which was produced by Defendants in the Related Case bearing Bates Nos. P-
  6 FIN003488–3501.
  7
             23.     EXHIBIT 54 to this declaration is Perfect 10 2005 Form 1120-S,
  8
      which was produced by Defendants in the Related Case bearing Bates Nos. P-
  9
      FIN003524–3537.
 10
 11          24.     EXHIBIT 55 to this declaration is Perfect 10 2006 Form 1120-S,

 12 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 13 FIN003561–3579.
 14          25.     EXHIBIT 56 to this declaration is Perfect 10 2007 Form 1120-S,
 15 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 16 FIN003603 – 3623.
 17          26.     EXHIBIT 57 to this declaration is Perfect 10 2008 Form 1120-S,
 18 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 19 FIN003647–3668.
 20
             27.     EXHIBIT 58 to this declaration is Perfect 10 2009 Form 1120-S,
 21
      which was produced by Defendants in the Related Case bearing Bates Nos. P-
 22
      FIN003692–3713.
 23
 24          28.     EXHIBIT 59 to this declaration is Perfect 10 2010 Form 1120-S,

 25 which was produced by Defendants in the Related Case bearing Bates Nos. P-
 26 FIN003715–3749.
 27
 28
      GREGORIAN DECL. ISO PLAINTIFFS’ OPP. TO MOT.
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  1          29.     EXHIBIT 60 to this declaration is Perfect 10 2011 Form 1120-S,
  2 which was produced by Defendants in the Related Case bearing Bates Nos. P-
  3 FIN003751–3761.
  4          30.     EXHIBIT 61 to this declaration is Perfect 10 2012 Form 1120-S,
  5 which was produced by Defendants in the Related Case bearing Bates Nos. P-
  6 FIN009779–3793.
  7          31.     EXHIBIT 62 to this declaration is Perfect 10 2013 Form 1120-S,
  8 which was produced by Defendants in the Related Case bearing Bates Nos. P-
  9 FIN009818–9829.
 10          32.     EXHIBIT 63 to this declaration is Perfect 10’s Statement of Income
 11 Inception to 12/31/96, which was produced by Defendants in the Related Case
 12 bearing Bates No. P-FIN000709.
 13          33.     EXHIBIT 64 to this declaration is Perfect 10’s Financial Report, dated
 14 December 31, 1997, which was produced by Defendants in the Related Case
 15 bearing Bates Nos. P-FIN000739-0747.
 16          34.     EXHIBIT 65 to this declaration is Perfect 10’s General Ledger Listing
 17 as of December 31, 1999, which was produced by Defendants in the Related Case
 18 bearing Bates Nos. P-FIN000999-1003.
 19          35.     EXHIBIT 66 to this declaration is Perfect 10’s Financial Report, dated
 20 March 31, 2001, which was produced by Defendants in the Related Case bearing
 21 Bates Nos. P-FIN001057-1075.
 22          36.     EXHIBIT 67 to this declaration is Perfect 10’s Financial Report, dated
 23 December 31, 2001, which was produced by Defendants in the Related Case
 24 bearing Bates Nos. P-FIN001159-1240.
 25          37.     EXHIBIT 68 to this declaration is Perfect 10’s Financial Report, dated
 26 December 31, 2002, which was produced by Defendants in the Related Case
 27 bearing Bates Nos. P-FIN001295-1307.
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  1          38.     EXHIBIT 69 to this declaration is Perfect 10’s Financial Report, dated
  2 July 31, 2007, which was produced by Defendants in the Related Case bearing
  3 Bates Nos. P-FIN002592-2615.
  4          39.     EXHIBIT 70 to this declaration is Perfect 10’s Bank of America
  5 statement for the 4952 account for December 2013, which was produced by
  6 Defendants in the Related Case bearing Bates Nos. P-FIN003920–3923.
  7          40.     EXHIBIT 71 to this declaration is Perfect 10’s Bank of America
  8 statement for the 4952 account for April 2014 through November 2015, which was
  9 produced by Defendants in the Related Case bearing Bates Nos. P-FIN009555-
 10 9676.
 11          41.     EXHIBIT 72 to this declaration is the hearing transcript regarding
 12 Plaintiffs’ Motion to Compel Production of Documents and for Protective Order,
 13 dated July 19, 2018.
 14          42.     EXHIBIT 73 to this declaration is the civil docket sheet in the Related
 15 Case, as of November 7, 2018.
 16          43.     Mr. Zada identified Exhibit 55 to his October 31, 2018 deposition at
 17 150:15-151:6, as an email from Mr. Zada to M. Poblete re Please pay Eric
 18 tomorrow if possible, dated March 11, 2015 and produced by Defendants in this
 19 case. I have attached Exhibit 55 to his October 31, 2018 deposition as EXHIBIT
 20 74 to this declaration.
 21          44.     EXHIBIT 75 to this declaration is an email from B. Hersh to M.
 22 Poblete re Sales, dated May 14, 2015 and produced by Defendants in this case.
 23          45.     EXHIBIT 76 to this declaration is an email from S. Ellenburg of
 24 Fenwick & West to counsel for Perfect 10, dated email July 13, 2015, forwarding a
 25 Notice of Judgment Lien sent to the Secretary of State.
 26          46.     Mr. Zada identified Exhibit 53 to his October 31, 2018 deposition at
 27 144:22-145:1, as an email from M. Poblete to N. Zada re Email to Bruce, dated
 28
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  1 November 9, 2012. I have attached Exhibit 53 to his October 31, 2018 deposition
  2 as EXHIBIT 77 to this declaration.
  3          47.     EXHIBIT 78 to this declaration is an email string between T.
  4 Gregorian and T. Brown re Perfect 10, starting on December 1, 2015.
  5          48.     EXHIBIT 79 to this declaration is an email from M. Poblete to B.
  6 Hersh, dated June 14, 2016 originally attaching a spreadsheet titled “2015 Sales -
  7 Orders from Shopify.xlsx,” which was produced by Defendants in this case bearing
  8 Bates No. MPOB 033.
  9          49.     EXHIBIT 80 to this declaration is Perfect 10’s General Ledger as of
 10 December 31, 2014, dated February 13, 2015, which was produced by Defendants
 11 in the Related Case case bearing Bates No. P-FIN009696.
 12          50.     EXHIBIT 81 to this declaration is an excerpt from Perfect 10’s 2014
 13 U.S. Income Tax Return, which was produced by Defendants in the Related Case
 14 bearing Bates Nos. P-FIN009856.
 15          51.     EXHIBIT 82 to this declaration is an excerpt from Perfect 10’s 2014
 16 U.S. Income Tax Return, which was produced by Defendants in the Related Case
 17 bearing Bates Nos. P-FIN009879.
 18          52.     EXHIBIT 83 to this declaration is an excerpt from Perfect 10’s
 19 American Express statement for account ending 2-34005 for February 2014, which
 20 was produced by Defendants in this case bearing Bates No. PN-AMEX-0012.
 21          53.     EXHIBIT 84 to this declaration is an excerpt from Perfect 10’s
 22 American Express statement for account ending 2-34005 for February 2014, which
 23 was produced by Defendants in this case bearing Bates No. PN-AMEX-0013.
 24          54.     EXHIBIT 85 to this declaration is an excerpt from Perfect 10’s
 25 American Express statement for account ending 2-34005 for February 2014, which
 26 was produced by Defendants in this case bearing Bates No. PN-AMEX-0014.
 27
 28
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  1          55.     EXHIBIT 86 to this declaration is an excerpt from Perfect 10’s
  2 American Express statement for account ending 2-34005 for February 2014, which
  3 was produced by Defendants in this case bearing Bates No. PN-AMEX-0015.
  4          56.     EXHIBIT 87 to this declaration is an excerpt from Perfect 10’s
  5 American Express statement for account ending 2-35002 for April 2014, which was
  6 produced by Defendants in this case bearing Bates No. PN-AMEX-0041.
  7          57.     EXHIBIT 88 to this declaration is an excerpt from Perfect 10’s
  8 American Express statement for account ending 2-35002 for June 2014, which was
  9 produced by Defendants in this case bearing Bates No. PN-AMEX-0072.
 10          58.     EXHIBIT 89 to this declaration is an excerpt from Perfect 10’s
 11 American Express statement for account ending 2-35002 for November 2014,
 12 which was produced by Defendants in this case bearing Bates No. PN-AMEX-
 13 0141.
 14          59.     EXHIBIT 90 to this declaration is an automobile Certificate of Title
 15 for a 2009 Lexus registered to N. Zada, dated April 10, 2012, which was produced
 16 by Defendants in this case bearing Bates No. PN-LEXUS-0001.
 17          60.     EXHIBIT 91 to this declaration is N. Zada’s Wells Fargo statement
 18 for account 0814029005 for April 2012, which was produced by Defendants in this
 19 case bearing Bates Nos. PN-LEXUS-PUR-0001-0005.
 20          61.     Mr. Zada identified Exhibit 9 to his July 11 deposition at 174:14-20,
 21 bearing Bates Nos. PN-LOAN-0001-184, as documents responsive to Plaintiffs’
 22 request for documents regarding the loan. I attach an excerpt of Exhibit 9 to his
 23 July 11, 2018 deposition, bearing Bates No. PN-LOAN-0060, as EXHIBIT 92 to
 24 this declaration.
 25          62.     Mr. Zada identified Exhibit 9 to his July 11 deposition at 174:14-20,
 26 bearing Bates Nos. PN-LOAN-0001-184, as documents responsive to Plaintiffs’
 27 request for documents regarding the loan. I attach an excerpt of Exhibit 9 to his
 28
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  1 July 11, 2018 deposition, bearing Bates No. PN-LOAN-0062, as EXHIBIT 93 to
  2 this declaration.
  3          63.     Mr. Zada identified Exhibit 9 to his July 11 deposition at 174:14-20,
  4 bearing Bates Nos. PN-LOAN-0001-184, as documents responsive to Plaintiffs’
  5 request for documents regarding the loan. I attach an excerpt of Exhibit 9 to his
  6 July 11, 2018 deposition, bearing Bates No. PN-LOAN-0063, as EXHIBIT 94 to
  7 this declaration.
  8          64.     Mr. Zada identified Exhibit 9 to his July 11 deposition at 174:14-20,
  9 bearing Bates Nos. PN-LOAN-0001-184, as documents responsive to Plaintiffs’
 10 request for documents regarding the loan. I attach an excerpt of Exhibit 9 to his
 11 July 11, 2018 deposition, bearing Bates No. PN-LOAN-0065-66, as EXHIBIT 95
 12 to this declaration.
 13          65.     EXHIBIT 96 to this declaration is an email string from Mr. Zada to
 14 M. Poblete forwarding a Veritext transcript, dated July 1, 2014, which was
 15 produced by Defendants in this case bearing Bates Nos. PN-MISC-0026-27.
 16          66.     EXHIBIT 97 to this declaration is an email string from M. Poblete to
 17 Zada re We are going to need to order my veritex debtor’s deposition transcript,
 18 dated April 13, 2016, which was produced by Defendants in this case bearing Bates
 19 No. PN-MISC-0035.
 20          67.     EXHIBIT 98 to this declaration is an email string between N. Zada, L.
 21 Snyder, and D. Pasternak re Perfect 10 v. Giganews, starting on March 1, 2017,
 22 which was produced by Defendants in this case bearing Bates Nos. PN-MISC-
 23 0384-0385.
 24          68.     EXHIBIT 99 to this declaration is an email from N. Zada to D.
 25 Pasternak re AOL, dated July 14, 2017, which was produced by Defendants in this
 26 case bearing Bates Nos. PN-MISC-0572-573.
 27
 28
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  1          69.     EXHIBIT 100 to this declaration is an email between D. Pasternak, N.
  2 Zada, and J. Diefenbach re AOL, dated August 1, 2018, which was produced by
  3 Defendants in this case bearing Bates Nos. PN-MISC-0577-579.
  4          70.     EXHIBIT 101 to this declaration is an email from N. Zada to the
  5 agent of Marisa Miller re Protecting the photos of Marisa Miller, dated July 16,
  6 2015, which was produced by Defendants in this case bearing Bates No. PN-MISC-
  7 0692.
  8          71.     EXHIBIT 102 to this declaration is an email from M. Poblete to B.
  9 Hersh re Perfect 10 v. Norm Zada, dated July 16, 2015, which was produced by
 10 Defendants in this case bearing Bates No. PN-MISC-0693. Poblete discussed this
 11 letter as Exhibit 26 to her July 17, 2018 deposition, at 182:5-184:22.
 12          72.     EXHIBIT 103 to this declaration are excerpts from an email string
 13 between J. Diefenbach, D. Pasternak, N. Zada, and L. Snyder re AOL, starting on
 14 December 18, 2017, which was produced by Defendants in this case bearing Bates
 15 Nos. PN-MISC-0813-0823.
 16          73.     EXHIBIT 104 to this declaration is an email string from D. Pasternak
 17 to R. Diefenbach and Zada re AOL, dated August 1, 2018, which was produced by
 18 Defendants in this case bearing Bates Nos. PN-MISC-0861-862.
 19          74.     EXHIBIT 105 to this declaration is an email from D. Pasternak to
 20 Zada and M. Mickelson re Giganews’s false representations to the Court, which
 21 was produced by Defendants in this case dated July 17, 2017, bearing Bates Nos.
 22 PN-MISC-0873-874.
 23          75.     EXHIBIT 106 to this declaration is an email string from D. Pasternak
 24 to Norman Zedah re Perfect 10 v. Giganews, dated March 3, 2017, which was
 25 produced by Defendants in this case bearing Bates Nos. PN-MISC-0910.
 26          76.     EXHIBIT 107 to this declaration is an email string from D. Pasternak
 27 to Zada re purchase of Perfect 10, dated September 28, 2017, which was produced
 28 by Defendants in this case bearing Bates Nos. PN-MISC-0930-0937.
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  1          77.     EXHIBIT 108 to this declaration is an email from N. Zada to S.
  2 Graham re Magistrate Hillman’s Order, dated February 10, 2015, which was
  3 produced by Defendants in this case bearing Bates Nos. PN-MISC2-0001-0002.
  4          78.     EXHIBIT 109 to this declaration is a page from the UBS Resource
  5 management account statement for April 2015, which was produced by Defendants
  6 in this case bearing bates No. PN-RET-UBS-183.
  7          79.     EXHIBIT 110 to this declaration is an email string between N. Zada,
  8 B. Hersh, and M. Poblete re quickbooks, dated July 20, 2018, which was produced
  9 by Defendants in this case bearing Bates No. PN-SUPPORT-0009.
 10          80.     EXHIBIT 111 to this declaration is the hearing transcript regarding
 11 Defendants’ Ex Parte Application, dated September 27, 2018.
 12          81.     EXHIBIT 112 to this declaration is “Fiduciary Duties of Directors of
 13 a Corporation in the Vicinity of Insolvency and After Initiation of a Bankruptcy
 14 Case,” by M. Sheinfeld and J. Pippitt, dated November 2004.
 15          82.     EXHIBIT 113 to this declaration is the amended 2017 U.S. Income
 16 Tax Return for Perfect 10, Inc., which was produced by Defendants in this case
 17 bearing Bates Nos. PN-P10TAX2017-0001-0006.
 18          83.     EXHIBIT 114 to this declaration is Perfect 10 1996 California S
 19 Corporation Franchise or Income Tax Return, which was produced by Defendants
 20 in the Related Case bearing Bates Nos. P-FIN003253–3265.
 21          84.     EXHIBIT 115 to this declaration is an email string from A. Bridges to
 22 counsel for Defendants re Confidential Proposal to Satisfy Judgment, dated April 4,
 23 2015.
 24          85.     EXHIBIT 116 to this declaration is Perfect 10’s Bank of America
 25 statement for the 4952 account for January 2014, which was produced by
 26 Defendants in the Related Case bearing Bates Nos. P-FIN003924-3928.
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  1          86.     EXHIBIT 117 to this declaration is Perfect 10’s Bank of America
  2 statement for the 4952 account for March 2014, which was produced by Defendants
  3 in the Related Case bearing Bates Nos. P-FIN003934-3938.
  4          87.     EXHIBIT 118 to this declaration is Perfect 10’s Bank of America
  5 statement for the 4952 account for April 2015, which was produced by Defendants
  6 in the Related Case bearing Bates Nos. P-FIN009629-9633.
  7          88.     EXHIBIT 119 to this declaration is an email from M. Poblete to B.
  8 Hersh re Tax Payment, dated May 15, 2015, which was produced by Defendants in
  9 this case.
 10          89.     EXHIBIT 120 to this declaration is an email from M. Poblete to B.
 11 Hersh re Tax Payment, dated May 14, 2015, which was produced by Defendants in
 12 this case.
 13          90.     EXHIBIT 121 to this declaration is an email from M. Poblete to N.
 14 Zada re Tax Payment, dated January 21, 2016, which was produced by Defendants
 15 in this case bearing Bates No. P-CORR000121.
 16
 17          I declare under penalty of perjury that the foregoing is true and correct.
 18 Executed on this 9th day of November 2018 in San Francisco, California.
 19
 20                                                  /s/Todd R. Gregorian
                                                     Todd R. Gregorian
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